Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 1 of 20 PageID #: 26998




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

      STATE OF LOUISIANA, STATE OF
      MISSOURI, et al.

                      Plaintiffs,

         v.                                            Case No. 3:22-cv-01213-TAD-KDM

      JOSEPH R. BIDEN, JR., in his official
      capacity as President of the United States, et
      al.,

                      Defendants.


    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO
    STAY PRELIMINARY INJUNCTION PENDING APPEAL AND, ALTERNATIVELY,
                       FOR ADMINISTRATIVE STAY
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 2 of 20 PageID #: 26999




                                                     TABLE OF CONTENTS


   INTRODUCTION .......................................................................................................................... 1

      I.    The Injunction Is Not Vague and Imposes No Cognizable Injury on Defendants. ............. 3

      II. Staying the Injunction Would Inflict Irreparable Injury on Plaintiffs. .............................. 12

      III. Defendants Are Unlikely To Succeed on the Merits. ........................................................ 13

      IV. The Court Should Again Reject Defendants’ Request for an Administrative Stay. .......... 14

   CONCLUSION ............................................................................................................................. 15

   CERTIFICATE OF SERVICE ..................................................................................................... 16




                                                                        i
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 3 of 20 PageID #: 27000




                                                  TABLE OF AUTHORITIES


   Cases                                                                                                                           Page(s)

   Ashcroft v. ACLU,
     535 U.S. 564 (2002) .................................................................................................................... 5

   Brnovich v. CDC,
     2022 WL 1276141 (W.D. La. Apr. 7, 2022) ............................................................................... 9

   Daniels Health Sciences, LLC v. Vascular Health Sciences, LLC,
    710 F.3d 579 (5th Cir. 2013) ............................................................................................. 3, 6, 11

   Elrod v. Burns,
     427 U.S. 347 (1976) ............................................................................................................ 12, 14

   Gulf King Shrimp Co. v. Wirtz,
    407 F.2d 508 (5th Cir.1969) .............................................................................................. 6, 7, 13

   Haaland v. Brackeen,
    143 S. Ct. 1609 (2023) .............................................................................................................. 13

   John Doe # 1 v. Veneman,
     380 F.3d 807 (5th Cir. 2004) ....................................................................................................... 3

   Louisiana v. Becerra,
     577 F.Supp.3d 483 (W.D. La. 2022) ........................................................................................... 9

   Louisiana v. Biden,
     45 F.4th 841 (5th Cir. 2022)................................................................................................ 11, 12

   Nevada v. U.S. Dep’t of Labor,
     218 F.Supp.3d 520 (E.D. Tex. 2016) ........................................................................................ 10

   Perez v. Gulf Coast Management Co., LLC,
     2015 WL 895098 (S.D. Ala. Mar. 3, 2015) ................................................................................ 7

   Regal Knitwear Co. v. NLRB,
     324 U.S. 9 (1945) .................................................................................................................. 6, 11

   Scholl v. Mnuchin,
     494 F.Supp.3d 661 (N.D. Cal. 2020) ........................................................................................ 10

   SEC v. Goble,
     682 F.3d 934 (11th Cir. 2012) ..................................................................................................... 7

   Texans for Free Enter. v. Tex. Ethics Comm’n,
     732 F.3d 535 (5th Cir. 2013) ..................................................................................................... 14
                                                                        ii
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 4 of 20 PageID #: 27001




   United States v. Alvarez,
    567 U.S. 709 (2012) .................................................................................................................... 5

   United States v. Philip Morris USA Inc.,
    566 F.3d 1095 (D.C. Cir. 2009) .............................................................................................. 3, 7

   United States v. Stevens,
    559 U.S. 460 (2010) .................................................................................................................... 5

   Utah v. United States,
     420 U.S. 304 (1975) .................................................................................................................... 9

   Statutes

   18 U.S.C. § 1961(1) ........................................................................................................................ 7




                                                                        iii
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 5 of 20 PageID #: 27002




                                           INTRODUCTION


          The Court’s preliminary injunction, Doc. 294, prevents Defendants only from doing what

   the First Amendment plainly forbids—i.e., “urging, encouraging, pressuring, or inducing … the

   removal, deletion, suppression, or reduction of content containing protected free speech posted on

   social-media platforms.” Id. at 4. Before the injunction was entered, Defendants spent months

   attempting to identify areas of legitimate government conduct that such an injunction might

   disrupt. They submitted five declarations from senior federal officials identifying areas of

   government speech and conduct with which, they claimed, an injunction enforcing First

   Amendment rights might interfere. See, e.g., Doc. 266, at 258. The Court carefully addressed all

   those concerns by providing eight clear and specific exclusions to the injunction, which specify

   areas of legitimate government speech and conduct that the injunction does not prohibit. Doc.

   294, at 5-6 (listing conduct that is “NOT prohibited by this Preliminary Injunction”).

          Defendants now seek to stay the preliminary injunction, claiming that the injunction “may”

   cause “grave harm” by “prevent[ing] the Government from engaging in a vast range of lawful and

   responsible conduct.” Doc. 297-1, at 1. But, after months of searching on this very issue,

   Defendants do not identify a single specific example of supposedly “grave harm” that the

   injunction might cause, or a single specific example of “lawful and responsible” government

   conduct that the injunction prevents. See id. at 1-6. By its plain terms, the injunction permits

   Defendants to engage in the full range of permissible Government speech and conduct—such as

   “(1) informing social-media companies of postings involving criminal activity or criminal

   conspiracies;” “(2) contacting and/or notifying social-media companies of national security

   threats, extortion, or other threats posted on its platform;” “(3) contacting and/or notifying social-

   media companies about criminal efforts to suppress voting, to provide illegal campaign


                                                     1
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 6 of 20 PageID #: 27003




   contributions, of cyber-attacks against election infrastructure, or foreign attempts to influence

   elections;” “(4) informing social-media companies of threats that threaten the public safety or

   security of the United States;” and “(5) exercising permissible public government speech

   promoting government policies or views on matters of public concern,” among others. Doc. 294,

   at 5-6. In the face of these clear and specific authorizations, Defendants’ conclusory, speculative

   assertion of “grave harm” that the injunction “may be read” to cause, Doc. 297-1, at 1—devoid of

   any specific examples or evidence of such harm—does not warrant an extraordinary stay.

          In fact, Defendants identify only two vague categories of supposedly legitimate

   government conduct that the injunction supposedly “may be read” to prevent: “[1] speaking on

   matters of public concern” and “[2] working with social media companies on initiatives to prevent

   grave harm to the American people and our democratic processes.” Id. As to the first, the

   injunction explicitly authorized the Government to “speak[] on matters of public concern.” Doc.

   294, at 6 (permitting Defendants to “(5) exercise[e] permissible public government speech

   promoting government policies or views on matters of public concern”). The second point,

   therefore, reflects the Government’s only real concern—i.e., that the injunction will prevent

   Defendants from “working with social media companies on initiatives to prevent grave harm to

   the American people and our democratic processes.” Doc. 297-1, at 1. But the evidence in this

   case overwhelmingly shows that the way the Government supposedly “prevent[s] grave harm to

   the American people and our democratic processes” is to pressure and induce social-media

   platforms to censor disfavored viewpoints on COVID-19, elections, and other core political

   speech. The Government’s assertion of “grave harm,” therefore, boils down to the claim that it

   should be allowed to continue violating the First Amendment. In the end, their position is

   fundamentally defiant toward the Court’s judgment. It demonstrates that the Government will



                                                   2
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 7 of 20 PageID #: 27004




   continue violating First Amendment rights by censoring core political speech on social media as

   soon as it can get away with it. The motion to stay should be denied.

   I.     The Injunction Is Not Vague and Imposes No Cognizable Injury on Defendants.

          First, Defendants claim that they “will suffer irreparable harm absent a stay of the

   preliminary injunction.” Doc. 297-1, at 3. This argument rests entirely on their claim that the

   injunction is “sweeping in scope and vague in its terms.” Id. This argument is meritless.

          First, Defendants’ objection that the injunction is supposedly too “broad” and “sweeping,”

   id. at 1, 3, is meritless. The injunction addresses a great deal of unlawful conduct because

   Defendants have committed a great deal of unlawful conduct, as the Court’s 82 pages of detailed

   factual findings demonstrate. Doc. 293, at 4-86. The scope of the injunction matches the scope

   of the ongoing First Amendment violations found by the Court, see id. at 153-155, and Defendants

   cite no evidence to the contrary. Because the unlawful conduct it itself “broad” and “sweeping,”

   the Court has properly “tailor[ed] the injunction to remedy the specific action[s] which give[] rise

   to the order.” Daniels Health Sciences, LLC v. Vascular Health Sciences, LLC, 710 F.3d 579, 586

   (5th Cir. 2013) (quoting John Doe # 1 v. Veneman, 380 F.3d 807, 818 (5th Cir. 2004)). As the

   D.C. Circuit has stated, “[t]hese injunctions may be broad, but breadth is warranted to prevent

   further violations where, as here, a proclivity for unlawful conduct has been shown.” United States

   v. Philip Morris USA Inc., 566 F.3d 1095, 1137 (D.C. Cir. 2009).

          Moreover, the injunction is not overbroad because the conduct it prohibits is plainly

   unlawful. The injunction prevents Defendants from communicating with social-media platforms

   “for the purpose of urging, encouraging, pressuring, or inducing in any manner the removal,

   deletion, suppression, or reduction of content containing protected free speech posted on social-

   media platforms.” Doc. 294, at 4. Similar language appears in each of the injunction’s ten

   paragraphs defining the conduct prohibited by the injunction. Id. at 4-5 (Paragraphs (1)-(10)).
                                                    3
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 8 of 20 PageID #: 27005




   Notably, this prescribed conduct of “urging, encouraging, pressuring, or inducing … the removal,

   deletion, suppression, or reduction of content containing protected free speech” is conduct that

   federal officials obviously should not be performing because it plainly violates the First

   Amendment. The only surprising thing about this ruling is that an injunction was needed to stop

   them from doing it in the first place. Defendants will suffer no cognizable harm from complying

   with an order that prohibits only plainly unconstitutional conduct.

          Next, Defendants argue that the injunction is “vague.” Doc. 297-1, at 3. This argument is

   meritless. The injunction is admirably detailed and specific. It includes ten paragraphs specifying

   prohibited conduct in detail, and eight paragraphs specifying government conduct that is not

   prohibited. Doc. 294, at 4-6. The injunction uses common words readily understandable by

   ordinary speakers of the English language, and whose meanings are easily ascertainable from the

   dictionary. Defendants do not identify any particular term anywhere in the injunction that they

   contend is too vague for persons of common intelligence to grasp. See Doc. 297-1, at 3-4.

          Instead, Defendants fault the injunction for referring to “protected free speech,” which the

   injunction defines as “speech that is protected by the Free Speech Clause of the First Amendment

   to the United States Constitution with jurisprudence of the United States Supreme Court” and other

   federal courts. Doc. 294, at 4 & n.3. The Government thus claims that it is incapable of discerning

   whether speech is protected by the First Amendment, Doc. 297-1, at 4—which does not inspire

   confidence in the Government’s ability to comply with the First Amendment in other contexts.

          The injunction is not vague on this point. As the Supreme Court has long held, speech is

   protected by the First Amendment unless it falls within certain clearly defined, “long familiar,”

   “historic and traditional,” “well-defined and narrowly limited” exceptions, such as obscenity,

   fraud, incitement, and speech integral to criminal conduct:



                                                    4
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 9 of 20 PageID #: 27006




          From 1791 to the present, … the First Amendment has permitted restrictions upon the
          content of speech in a few limited areas and has never included a freedom to disregard
          these traditional limitations. These historic and traditional categories long familiar to the
          bar—including obscenity, defamation, fraud, incitement, and speech integral to criminal
          conduct—are well-defined and narrowly limited classes of speech, the prevention and
          punishment of which have never been thought to raise any Constitutional problem.

   United States v. Stevens, 559 U.S. 460, 468–69 (2010) (citations, alterations, and quotation marks

   omitted); see also, e.g., United States v. Alvarez, 567 U.S. 709, 715–18 (2012) (plurality op.). The

   Supreme Court’s doctrine of First Amendment exceptions is not unconstitutionally vague. Speech

   that does not fall into these “historic and traditional,” “long familiar,” “well-defined,” and

   “narrowly limited” exceptions is protected by the First Amendment, id.—especially where, as

   here, the speech is core political speech addressing topics of enormous public concern:

           [T]he Government has used its power to silence the opposition. Opposition to COVID-19
          vaccines; opposition to COVID-19 masking and lockdowns; opposition to the lab-leak
          theory of COVID-19; opposition to the validity of the 2020 election; opposition to
          President Biden’s policies; statements that the Hunter Biden laptop story was true; and
          opposition to policies of the government officials in power. All were suppressed. It is quite
          telling that each example or category of suppressed speech was conservative in nature. This
          targeted suppression of conservative ideas is a perfect example of viewpoint discrimination
          of political speech. American citizens have the right to engage in free debate about the
          significant issues affecting the country.

   Doc. 293, at 154. “[A]s a general matter, the First Amendment means that government has no

   power to restrict expression because of its message, its ideas, its subject matter, or its content.”

   Stevens, 559 U.S. at 468 (quoting Ashcroft v. ACLU, 535 U.S. 564, 573 (2002)). Outside the

   narrow, longstanding, well-defined First Amendment “categories [that] have a historical

   foundation in the Court’s free speech tradition,” the “vast realm of free speech and thought always

   protected in our tradition can still thrive.” Alvarez, 567 U.S. at 715-718.

          Notably, in their stay motion, Defendants fail to identify a single instance of social-media

   speech for which they claim they cannot discern whether it falls within the well-established First

   Amendment exceptions. See Doc. 297-1, at 3-4. But even if they did, it would not matter. As the

                                                    5
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 10 of 20 PageID #:
                                 27007



 Fifth Circuit has held, mathematical precision is neither possible nor required for injunctions: “[I]t

 is impossible for courts to craft injunctions that address all hypotheticals.” Daniels Health

 Sciences, 710 F.3d at 586. Instead, as both the Supreme Court and Fifth Circuit have held, the

 mere possibility of some future marginal application does not suffice to invalidate an injunction.

 Regal Knitwear Co. v. NLRB, 324 U.S. 9, 15 (1945) (Jackson, J.); Gulf King Shrimp Co. v. Wirtz,

 407 F.2d 508, 517 (5th Cir.1969); Daniels Health Sciences, 710 F.3d at 586. Where Defendants

 have failed to identify any specific scenarios that fall within the supposed ambiguity, their claim

 of vagueness is purely speculative and hypothetical. Daniels Health Sciences, 710 F.3d at 586

 (rejecting a claim of vagueness where the defendant “has not alleged an intent to enter into such

 transactions” that might raise questions about the injunction’s scope).

        Defendants also suggest that it is improper for the Court to incorporate First Amendment

 legal standards in defining the injunction’s prohibited conduct. Doc. 297-1, at 3 & n.2. This is

 incorrect. An injunction may refer to established legal standards to define prohibited conduct. For

 example, in Gulf King Shrimp, the Fifth Circuit upheld an injunction that prohibited a company

 from engaging in “oppressive child labor,” where “oppressive child labor” under the injunction

 was “as defined in Section 3(l) of the [Fair Labor Standards] Act.” Gulf King Shrimp Co. v. Wirtz,

 407 F.2d 508, 517 n.10 (5th Cir. 1969). The Fifth Circuit held that the injunction’s “interdiction

 of oppressive child labor is not vague.” Id. at 517. “The fact that the decree includes specific

 references to sections of the Fair Labor Standards Act is not, as here used, inconsistent with the

 requirements of Rule 65(d).” Id. “It is significant that the injunction does not engraft the statute

 in gross, or rely on the statute for clarification of what is otherwise unclear in the decree itself.”

 Id. So also here, the injunction’s reference to “protected conduct” does not merely “engraft [the

 First Amendment] in gross” or “rely on” the First Amendment “for clarification of what is



                                                   6
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 11 of 20 PageID #:
                                 27008



 otherwise unclear in the decree itself.” Id. Indeed, if anything, the injunction’s reference to

 “protected” speech is far more specific, and less vague, than the phrase “oppressive child labor”

 upheld by the Fifth Circuit in Gulf King Shrimp.

        Likewise, many other cases have upheld injunctions that include references to legal

 standards in defining the prohibited conduct. See, e.g., U.S. v. Philip Morris USA Inc., 566 F.3d

 1095, 1137 (D.C. Cir. 2009) (upholding an injunction preventing defendants “from committing

 any act of racketeering, as defined in 18 U.S.C. § 1961(1)”); id. (“Even if it tracks statutory

 language, a general injunction is not too vague if it relates the enjoined violations to the context of

 the case.”); SEC v. Goble, 682 F.3d 934, 952 (11th Cir. 2012) (holding that “a broad, but properly

 drafted injunction, which largely uses the statutory or regulatory language may satisfy the

 specificity requirement of Rule 65(d) so long as it clearly lets the defendant know what he is

 ordered to do or not do”); Perez v. Gulf Coast Management Co., LLC, 2015 WL 895098, at *9-12

 (S.D. Ala. Mar. 3, 2015) (enjoining the employment of any employee in commerce “within the

 meaning of the [FLSA]” for more than 40 hours unless compensated appropriately, and citing

 specific statutory provisions in the FLSA).

        Such injunctions are particularly appropriate where, as here, the reference to legal

 standards is linked to prohibitions of specific conduct and backed by extensive factual findings

 detailing the types of violations enjoined. Philip Morris USA, 566 F.3d at 1137. In Philip Morris,

 “[t]he district court did not abstractly enjoin Defendants from violating RICO or making false

 statements, but instead specified the matters about which Defendants are to avoid making false

 statements or committing racketeering acts… This is not a generalized injunction to obey the law,

 especially when read in the context of the district court’s legal conclusions and … findings of fact

 about fraud ….” Id. The same logic applies here.



                                                   7
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 12 of 20 PageID #:
                                 27009



        Defendants claim that “[t]he Court’s list of carve-outs only injects further uncertainty,”

 Doc. 297-1, at 3, but their argument cannot withstand scrutiny. Again, the eight paragraphs

 specifying conduct that is not prohibited by the injunction are clear, specific, and cast in terms

 whose meanings are readily understandable to ordinary English speakers with access to a

 dictionary. See Doc. 294, at 5-6. Defendants quibble with the language of only one of them—

 Paragraph (5), which permits Defendants to “exercis[e] permissible public government speech

 promoting government policies or views on matters of public concern.” Doc. 294, at 6. Yet even

 here, Defendants do not claim that this language is unclear or vague (in fact, they use virtually the

 same language, Doc. 297-1, at 1). Instead, they claim that this exception is “at odds with the

 Court’s conclusion that public statements by the White House Press Secretary and the Surgeon

 General likely violate the First Amendment.” Doc. 297-1, at 4.

        This supposed inconsistency is baseless. As the Court’s opinion explains in detail, backed

 by overwhelming evidence, the White House Press Secretary went beyond “exercising permissible

 public government speech” by using the “threat of legal consequences” to “push[] Facebook and

 other social-media platforms to censor COVID-19 misinformation.” Doc. 293, at 22; see also id.

 at 23-24, 26, 98. The Court explicitly found that the Press Secretary raised “the threat to social-

 media companies to amend Section 230 of the Communications Decency Act, linking these threats

 to social-media platforms’ failure to censor misinformation and disinformation.” Id. at 26.

 Likewise, the Court explicitly found that Surgeon General Murthy made public and private

 demands for censorship of disfavored views on COVID-19, understanding that the platforms

 would feel “feel pressured” to increase censorship in response. Id. at 30; see also id. at 23, 28-36.

 The Court specifically found that the Surgeon General used threats of adverse consequences to

 pressure platforms, and that his frequently used word “‘accountable’ carries with it the threat of



                                                  8
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 13 of 20 PageID #:
                                 27010



 consequences.” Id. at 33. The Court also specifically found that “[t]he Office of the Surgeon

 General collaborated and partnered with the Stanford Internet Observatory and the Virality

 Project” to censor Americans’ speech. Id. at 34.

        In short, the Court’s findings demonstrate that both the Press Secretary and the Surgeon

 General went far beyond merely expressing their views on public policy issues—they used

 pressure and threats to induce social-media platforms to silence ordinary Americans’ speech. The

 Press Secretary’s and Surgeon General’s unlawful conduct involved “urging, encouraging,

 pressuring, or inducing in any manner the removal, deletion, suppression, or reduction of content

 containing protected free speech posted on social-media platforms,” and it was done “for the

 purpose of” censoring First Amendment-protected speech. Doc. 294, at 4. Even the Government,

 despite its professed obtuseness, should be capable of understanding this distinction.

        Next, Defendants object that the injunction “names entire agencies, such as the Department

 of Justice, which are composed of many sub-components whose actions are not challenged by

 Plaintiffs in this case.” Doc. 297-1, at 4. From the beginning of this case, consistent with ordinary

 practice, Plaintiffs have consistently sought injunctive relief against both the agency defendants

 and the federal officers involved. See, e.g., Doc. 10, at 2; Doc. 214, at 68. During all this time,

 Defendants never objected that only federal officers can be enjoined and that federal agencies are

 somehow exempt from injunction; the argument is therefore waived. It is also meritless. A legion

 of cases supports the practice of enjoining federal agencies involved in unlawful conduct. See,

 e.g., Utah v. United States, 420 U.S. 304 (1975) (enjoining “the United States of America, its

 departments and agencies”); Louisiana v. Becerra, 577 F.Supp.3d 483 (W.D. La. 2022) (enjoining

 the Department of Health and Human Services); Arizona by and through Brnovich v. CDC, 2022

 WL 1276141 (W.D. La. Apr. 7, 2022) (issuing a TRO against the Department of Homeland



                                                  9
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 14 of 20 PageID #:
                                 27011



 Security “and all of its subdivisions, agencies, and employees”); Nevada v. U.S. Dep’t of Labor,

 218 F.Supp.3d 520 (E.D. Tex. 2016) (enjoining the U.S. Department of Labor); Scholl v. Mnuchin,

 494 F.Supp.3d 661 (N.D. Cal. 2020) (enjoining the Department of Treasury, the IRS, and the

 “United States of America”). There is no basis to object to an injunction against agencies here.

        Defendants also complain that the injunction applies to HHS but then exempts the FDA,

 which is a part of HHS. Doc. 297-1, at 4. On the contrary, there is nothing inherently confusing

 or contradictory in enjoining a federal agency, while exempting a component of that agency. See

 Doc. 294, at 1, 6. An order that applies to all high-school seniors but then exempts the seniors

 who are on the basketball team is not self-contradictory; neither is the Court’s injunction.

        Defendants argue that “[t]he potential breadth … covered by the injunction … will chill a

 wide range of lawful government conduct relating to Defendants’ law enforcement

 responsibilities, obligations to protect national security, and prerogative to speak on matters of

 public concern.” Doc. 297-1, at 4. Yet, as noted above, this concern is vague, hypothetical, and

 speculative, because Defendants fail to identify a single specific instance of lawful government

 conduct that they contend will be “chill[ed]” by the injunction. See id. The Court fully addressed

 their concerns about “law enforcement,” “national security,” and the “prerogative to speak on

 matters of public concern,” id., by providing specific exemptions authorizing lawful government

 activity on these very matters in Paragraphs (1), (2), (3), (4), (5), (6), and (7) of the exceptions to

 the injunction. See Doc. 294, at 5-6 (specifically exempting, inter alia, “(1) informing social-

 media companies of postings involving criminal activity or criminal conspiracies;” “(2) contacting

 and/or notifying social-media companies of national security threats, extortion, or other threats

 posted on its platform;” “(4) informing social-media companies of threats that threaten the public

 safety or security of the United States;” and “(5) exercising permissible public government speech



                                                   10
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 15 of 20 PageID #:
                                 27012



 promoting government policies or views on matters of public concern,” among others).

 Defendants fail to explain how any law-enforcement, national-security, and government-speech

 interests are not adequately protected by these specific exceptions—in fact, Defendants do not

 identify any specific conduct that they claim is lawful but prevented by the injunction. See Doc.

 297-1, at 3-4. In their preliminary-injunction briefing, Defendants spent months attempting to

 identify lawful government conduct that the injunction would supposedly interfere with, and filed

 five declarations advancing such claims along with extensive briefing. See Doc. 266, at 258 (citing

 Knapp Decl. ¶¶ 5-50 (Def. Ex. 157); Wales Decl. ¶¶ 27-30 (Def. Ex. 167); Crawford Decl. ¶¶ 20-

 23 (Def. Ex. 80); Lesko Decl. ¶¶ 18-19 (Def. Ex. 63); Bray Decl. ¶¶ 12-15 (Def. Ex. 142)). The

 Court carefully considered those concerns and thoroughly addressed them with its list of eight

 exclusions. Doc. 294, at 5-6.

        Now that the injunction is entered, Defendants fail to identify any specific concern from

 those five declarations, or any new specific concern, that the injunction will supposedly interfere

 with. See Regal Knitwear, 324 U.S. at 15-16 (Jackson, J.) (refusing to strike words from an

 injunction where the enjoined party had not identified any specific conduct that those words would

 prevent). As Regal Knitwear held, “No concrete case is before us. We have here an abstract

 controversy over the use of these words, and it is as sterile as abstract controversies usually are.

 The [Government] objects to the words of the order merely as words.”             Id. at 15. Such

 “hypotheticals” provide no basis for a stay. Daniels Health Sciences, 710 F.3d at 586.

        Finally, the Government likens this case to Louisiana v. Biden, 45 F.4th 841, 845 (5th Cir.

 2022), but that case is inapplicable here. In Louisiana, the Fifth Circuit remanded an injunction

 that included the word “Pause” to describe the cessation of oil and gas leases on federal lands on

 the basis that the injunction did not define the word “Pause”: “The order enjoins implementation



                                                 11
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 16 of 20 PageID #:
                                 27013



 of the ‘Pause’ but does not define that term. The district court’s accompanying memorandum

 defines the Pause without precision, leading the parties to differ in their interpretation of the

 Pause’s breadth.” Id. Here, Defendants do not identify any specialized term in the injunction that

 is supposedly “define[d] … without precision,” id., so the issue is not presented here.

 II.    Staying the Injunction Would Inflict Irreparable Injury on Plaintiffs.

        Defendants contend that Plaintiffs will not suffer any irreparable injury from a stay of the

 injunction pending appeal. Doc. 297-1, at 4-5. This is wrong. “The loss of First Amendment

 freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.” Elrod

 v. Burns, 427 U.S. 347, 373 (1976). Both the Private Plaintiffs and the States will suffer grave

 irreparable injury from a stay. The harms to the individual Plaintiffs from a stay are particularly

 acute, and the Government ignores them. The record is clear that Plaintiffs Jay Battacharya, Martin

 Kulldorff, Aaron Kheriaty, Jill Hines, and Jim Hoft have been repeatedly denied access to social

 media because their messages were the sort that the Government successfully sought to eliminate.

 Moreover, the Private Plaintiffs are also injured as audience members because they follow on

 social-media dozens of speakers specifically targeted by federal officials and their allies for

 censorship, as reflected in this case’s discovery. See Doc. 227-5, ¶ 5 (Bhattacharya Decl.); Doc.

 227-6, ¶ 5 (Kulldorff Decl.); Doc. 227-7, ¶¶ 5-6 (Kheriaty Decl.); Doc. 227-8, ¶¶ 5-7 (Hoft Decl.);

 Doc. 227-9, ¶¶ 5-6 (Hines Decl.). The injunction protects them while this case is appealed.

        Defendants rehash their argument that “Plaintiffs’ assertions of harm center almost entirely

 on conduct that is more than one year old.” Doc. 297-1, at 5 (citing Doc. 266 at 106-25). This

 argument is wrong for the reasons Plaintiffs have repeatedly explained. See, e.g., Doc. 276, at 70-

 80. Both States and the Private Plaintiffs continue to experience censorship injuries to the present.

 See, e.g., Doc. 274-3 (Hines Decl.); Doc 274-4 (Hoft Decl.). Moreover, Defendants’ social-media

 censorship activities continued up until the time they produced documents in discovery and
                                                  12
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 17 of 20 PageID #:
                                 27014



 beyond. The fact that much of this evidence—though by no means all of it—is up to “one year

 old” reflects the fact that Defendants produced the vast majority of their documents in August

 2022—almost a year ago. Moreover, the limited document productions since then, the deposition

 testimony, and Defendants’ own public statements all demonstrate their ongoing commitment to

 social-media censorship activities—as do their professions of innocence in the face of

 overwhelming evidence. “Such selfdelusions of innocence only underscore the urgent need, both

 now and in the future, for injunctive process.” Gulf King Shrimp, 407 F.2d at 516.

 III.   Defendants Are Unlikely To Succeed on the Merits.

        Defendants contend that they will raise “serious legal questions” about Article III standing

 and the merits on appeal. Doc. 297-1, at 5. But they raise only two issues as to standing, and both

 are meritless. First, they claim that Plaintiff States lack parens patriae standing under the Supreme

 Court’s recent decision in Haaland v. Brackeen, 143 S. Ct. 1609, 1640 (2023). This contention is

 wrong for the reasons elucidated in the Court’s opinion. Doc. 293, at 121-125. And the

 Government ignores multiple other bases for State standing—including direct censorship injuries

 to the States, injuries to the States’ ability to listen to their own constituents on social media, and

 injuries to the States’ sovereign interests, many of which the Court has upheld. Doc. 293, at 125-

 126; Doc. 224, at 20-33. Second, they contend that all Plaintiffs lack standing because of their

 supposed “failure to present any evidence of ongoing or imminent harm.” Id. That is wrong for

 the reasons discussed above. Plaintiffs have submitted extensive evidence of ongoing and

 imminent future injuries.

        Finally, Defendants contend, in conclusory fashion, that “the Court’s conclusion that

 Plaintiffs are likely to succeed on the merits of their First Amendment claim fails to properly apply

 state-action doctrine and ignores the voluminous evidence presented by Defendants.” Doc. 297-

 1, at 5. They provide no citation or further argument to support these conclusory claims, which
                                                   13
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 18 of 20 PageID #:
                                 27015



 are clearly mistaken. The Court provided an extensive and detailed analysis of the state-action

 doctrine, Doc. 293, at 88-95, and Defendants provide no reason to question it. As for Defendants’

 claim that the Court “ignore[d] the voluminous evidence presented by Defendants,” Doc. 297-1,

 at 5, the Court relied on the “voluminous evidence” produced by Defendants in discovery—i.e.,

 their own emails and other communications with social-media platforms, as well as the sworn

 testimony of six Government witnesses in depositions. Defendants do not cite a shred of evidence

 that contradicts a single one of the Court’s 82 pages of factual findings. And even if they did, it is

 this Court’s role to weigh and consider the evidence that it considers probative, and to disregard

 evidence that it finds non-probative or unconvincing. The Court has done so here.

 IV.    The Court Should Again Reject Defendants’ Request for an Administrative Stay.

        In the alternative, Defendants request “an administrative stay of the preliminary injunction

 for seven days to allow time for the Fifth Circuit to consider an emergency motion to stay and

 request for administrative stay.” Doc. 297-1, at 6. Defendants requested the same relief—a seven-

 day administrative stay—in their opposition to the motion for preliminary injunction, Doc. 266, at

 275, and the Court did not grant it. The Court should not revisit that decision and grant such a stay

 now. As discussed above, the injunction prevents ongoing irreparable injury to First Amendment

 interests, and maintaining the injunction will advance the public interest. “Injunctions protecting

 First Amendment freedoms are always in the public interest.” Texans for Free Enter. v. Tex. Ethics

 Comm’n, 732 F.3d 535, 539 (5th Cir. 2013). A stay of even a single day would extend First

 Amendment harms that “unquestionably constitute[] irreparable injury.” Elrod, 427 U.S. at 373.

 The Government identifies no cognizable harm that will result from forbidding it to urge, pressure,

 encourage, or induce social-media platforms to censor Americans’ First Amendment-protected

 speech. The equities weigh heavily against entering an administrative stay.



                                                  14
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 19 of 20 PageID #:
                                 27016



                                         CONCLUSION

        In essence, Defendants argue that the injunction should be stayed because it might interfere

 with the Government’s ability to continue working with social-media companies to censor

 Americans’ core political speech on the basis of viewpoint. See Doc. 291-1, at 1. In other words,

 the Government seeks a stay of the injunction so that it can continue violating the First

 Amendment. The motion for stay should be denied.

  Dated: July 10, 2023                             Respectfully submitted,

  ANDREW BAILEY                                    JEFFREY M. LANDRY
  Attorney General of Missouri                     Attorney General of Louisiana

  /s/ Joshua M. Divine                             /s/ D. John Sauer
  Joshua M. Divine, Mo. Bar No. 69875*             Elizabeth B. Murrill (La #20685)
    Solicitor General                                Solicitor General
  Todd A. Scott, Mo. Bar No. 56614*                Tracy Short (La #23940)
    Senior Counsel                                   Assistant Attorney General
  Missouri Attorney General’s Office               D. John Sauer (Mo #58721)*
  Post Office Box 899                                Special Assistant Attorney General
  Jefferson City, MO 65102                         Louisiana Department of Justice
  Tel: (573) 751-8870                              1885 N. Third Street
  Josh.Divine@ago.mo.gov                           Baton Rouge, Louisiana
  Counsel for State of Missouri                    Tel: (225) 326-6766
                                                   murrille@ag.louisiana.gov
                                                   Counsel for State of Louisiana
  /s/ John J. Vecchione
  John J. Vecchione *
  New Civil Liberties Alliance                     /s/ John C. Burns
  1225 19th Street N.W., Suite 450                 John C. Burns *
  Washington, DC 20036                             Burns Law Firm
  Direct: (202) 918-6905                           P.O. Box 191250
  E-mail: john.vecchione@ncla.legal                St. Louis, Missouri 63119
  Counsel for Plaintiffs Dr. Jayanta               P: 314-329-5040
  Bhattacharya,                                    E-mail: john@burns-law-firm.com
  Dr. Martin Kulldorff, Dr. Aaron Kheriaty,        Counsel for Plaintiff Jim Hoft
  and Jill Hines

 * admitted pro hac vice




                                                15
Case 3:22-cv-01213-TAD-KDM Document 303 Filed 07/10/23 Page 20 of 20 PageID #:
                                 27017



                                  CERTIFICATE OF SERVICE


        I hereby certify that, on July 10, 2023, I caused a true and correct copy of the foregoing to

 be filed by the Court’s electronic filing system, to be served by operation of the Court’s electronic

 filing system on counsel for all parties who have entered in the case.

                                                       /s/ D. John Sauer




                                                  16
